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                                 UNITED STATES DISTRICT COURT
19
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
20

21   Curtis L. Briggs, Robert Canny, and Matthew        Case No. 4:22-CV-05012-YGR
     Murillo,
22                                                      OPPOSITION TO DEFENDANTS’
                   Plaintiffs,                          NEW ADMINISTRATIVE MOTION
23                                                      TO CONSIDER WHETHER CASES
            v.                                          SHOULD BE RELATED
24
     San Mateo County, Carlos Bolanos, Sheriff of
25   San Mateo County, and Frank Dal Porto, Captain
26   of the San Mateo County Sheriff’s Office,

27                 Defendants.

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     OPP’N TO NEW MOT. TO RELATE                                  Case. No. 4:22-cv-05012-YGR
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 1          Plaintiffs in A.B.O. Comix v. County of San Mateo, No. 4:23-cv-01865-DMR, file this

 2 response in opposition to Defendants’ new administrative motion to consider whether cases should

 3 be related, which argues that A.B.O. Comix should be related to Briggs v. San Mateo County, No.

 4 4:22-cv-05012-YGR. See New Mot. to Relate, ECF No. 18. In this district, cases are treated as

 5 related to prevent the “unduly burdensome duplication of labor and expense or conflicting results”

 6 that can occur when two matters concerning substantially the same factual or legal issues proceed

 7 before different judges. Civil L.R. 3-12(a).

 8          As explained in the A.B.O. Comix Plaintiffs’ opposition to Defendants’ initial motion,

 9 Briggs involves distinct legal and factual issues pertaining to attorney–client communications and

10 the County’s electronic messaging system. See Pls.’ Opp’n, ECF No. 19; see also Briggs Compl.

11 ¶¶ 50–56, 65–79, ECF No. 1. In contrast, A.B.O. Comix pertains to the digitization and destruction

12 of non-legal mail at the County’s facilities. Therefore, the two cases do not meet this Court’s

13 requirements for relation.

14          However, Prasad v. Bolanos, et al., No. 4:22-cv-01346-JST, is closely related to A.B.O.

15 Comix, because the two cases involve many of the same parties and legal claims surrounding

16 Defendants’ policy of digitizing and destroying incoming non-legal mail. See Am. Compl. 3:5–21,

17 Prasad v. Bolanos, No. 4:22-cv-01346-JST (N.D. Cal. July 25, 2022), ECF No. 14. Plaintiffs in

18 A.B.O. Comix submit this subsequent opposition to explain why A.B.O. Comix should be related to

19 Prasad rather than to Briggs.
20          First, A.B.O. Comix and Prasad are related within the meaning of Civil Local Rule 3-12(a)

21 because both cases involve the same parties, events, and transactions, and raise nearly identical

22 First Amendment challenges to the County’s digitization and destruction of physical mail. See Mot.

23 to Relate, Prasad, No. 4:22-cv-01346-JST, ECF No. 24. Although Defendants argue that Mr.

24 Prasad did not directly mention Smart Communications in his Amended Complaint, see New Mot.

25 to Relate 2–4, Mr. Prasad plainly challenged the County’s denial of physical mail at San Mateo

26 County jails. Throughout his filings in Prasad, Mr. Prasad alleged that the County began relying

27 on Smart Communications to deny physical mail to those incarcerated in its facilities in April

28 2021—as do Plaintiffs in A.B.O. Comix. See Compl. 2–3, Prasad, No. 4:22-cv-01346-JST, ECF

                                                    2

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 1 No. 1 (alleging a “constitutional First Amendment violation” because the defendants “shut

 2 down . . . incoming handwritten mailed letters” beginning in April 2021); Prasad Am. Compl. 3:10

 3 challenging the County’s “institutional policy of banning any and all correspondence” except

 4 attorney–client communications); Prasad Decl. 1:15–25, Prasad, No. 4:22-cv-01346-JST, ECF No.

 5 16 (arguing that the policy “force[d] my family and any member of the public . . . to send all

 6 correspondence to Smart Jail Communications.”); see also A.B.O. Comix Compl.¶¶ 1, 31, Deveaux

 7 Decl. Ex. 1, ECF No. 18-1.

 8          Both A.B.O. Comix and Prasad challenge the County’s use of Smart Communications to

 9 deprive incarcerated people of physical mail under the First Amendment. See A.B.O. Comix Compl.

10 ¶¶ 11, 88–89; Prasad Compl. 2; Order 3, Prasad, March 14, 2023, No. 4:22-cv-01346-JST, ECF

11 No. 19. Defendants point out that Prasad included an additional challenge to restrictions on

12 provocative materials in the County’s jails, see New Mot. to Relate 2–3, 5, but this is of no moment:

13 the key question is not whether there is complete duplication of claims, but whether the relevant

14 parties, facts, and events are so similar that hearing them separately would create a “burdensome

15 duplication of labor.” Civil L.R. 3-12(a). Because the lawsuits involve overlapping plaintiffs and

16 defendants, challenge the same policy, and raise the same constitutional claims, relating the two

17 cases would satisfy the stated purpose of Civil Local Rule 3-12(a).

18          Second, relating A.B.O. Comix to Briggs is inappropriate because Briggs presents different

19 factual and legal issues than those presented by A.B.O. Comix. See Pls.’ Opp’n 3–4. In Briggs, the
20 plaintiffs were lawyers challenging the County’s surveillance of privileged legal messages sent via

21 Smart Communications’ “Smart Mail” service, as well as the County’s still-unrealized plan to

22 digitize and destroy attorney mail. See Briggs Compl. ¶¶ 50–56; 65–79; 87–92. By contrast, the

23 A.B.O. Comix Plaintiffs have challenged neither the County’s policies regarding electronic

24 messages nor its policies regarding attorney–client communications. Thus, while Defendants point

25 out that both the A.B.O. Comix and Briggs complaints address the surveillance of mail and the

26 resulting chilling effect, New Mot. to Relate 2, 4, these concerns arise in different contexts and

27 implicate different bodies of law. E.g. Hayes v. Idaho Corr. Ctr., 849 F.3d 1204, 1208–11 (9th Cir.

28 2017) (describing First Amendment case law particular to legal mail). Where the factual and legal

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 1 issues are so distinct, relation would not reduce the risk of conflicting results or promote judicial

 2 efficiency. As such, it would be inappropriate under Civil Local Rule 3-12(a).

 3                                           CONCLUSION

 4          For the foregoing reasons, the A.B.O. Comix Plaintiffs respectfully request that the Court

 5 deny Defendants’ new motion to relate A.B.O. Comix v. County of San Mateo, No. 4:23-cv-01865-

 6 DMR, to Briggs v. San Mateo County, No. 4:22-cv-05012-YGR.

 7
     DATED: April 25, 2023                            Respectfully submitted,
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                                                      **Application for Admission Pro Hac Vice
28
                                                      Forthcoming

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     OPP’N TO NEW MOT. TO RELATE                                        Case. No. 4:22-cv-05012-YGR
